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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

                                                                             Order Filed on March 2, 2022
                                                                             by Clerk
                                                                             U.S. Bankruptcy Court
                                                                             District of New Jersey




 In Re:                                                      Case No.:         ___________________
                                                                                       21-30589
 LTL MANAGEMENT LLC,                                         Chapter:                      11
                                                                               ____________________

 Debtor.                                                     Hearing Date:          February 14, 2022
                                                                               ___________________

                                                             Judge:                Michael B. Kaplan
                                                                               ____________________




                               ORDER DENYING MOTIONS TO DISMISS



      The relief set forth on the following pages, numbered two (2) through
      _____2______ is ORDERED.




DATED: March 2, 2022
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THIS MATTER comes before the Court upon motions filed by the Official Committee of Talc
Claimants (ECF No. 632) and the law firm of Arnold & Itkin, LLP, on behalf of certain talc personal
injury claimants (ECF No. 766), seeking an order of the Court dismissing the within bankruptcy
proceeding pursuant to § 1112(b) as not having been filed in good faith; And the Court having
considered fully the submissions of the parties and the argument of counsel the week of February 14,
2022 - February 18, 2022; and for good cause; IT IS HEREBY

ORDERED that the Motions (ECF Nos. 632 and 766) are DENIED in their entirety for reasons set
forth in the accompanying opinion on the docket (ECF No. 1572).
